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Attorney for Ricky James Jr. Salas Santos

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE TERRITORY OF GUAM

UNITED STATES OF AMERICA,     )             CR 20-00021
                              )
         Plaintiff,           )             WAIVER AND CONSENT TO APPEAR
     vs.                      )             BY VIDEO OR TELEPHONIC MEANS
                              )
                              )
RICKY JAMES JR. SALAS SANTOS, )
                              )
         Defendant.           )
                              )

            Defendant, through undersigned counsel, waives in-person court
appearances and consents to video-conference or telephonic appearances for all
court proceedings during emergency conditions due to the COVID19 pandemic.
This waiver and consent is made knowingly, intelligently, and voluntarily after
having been fully advised by counsel. Defendant waives signature hereon and will
confirm or has confirmed this waiver and consent on the record.
            DATED: Mongmong, Guam, September 14, 2020.

                                      /s/




                                      Attorney for Ricky James Jr. Salas Santos



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